 

_ Case 6:18-bk-06338-CC.] Doe 12-1 Filed 11/15/18 Page 1 of 25

Mem ze. Manuei

Note '

NOTICE: THIS LOAN IS NOT ASSUMABLE WITHOUT THE
APPROVAL OF TE[E DEPARTMENT OF VETERANS AFFAIRS
OR ITS AUTHORIZED AGENT.

December, 19, 2016 Mel bourne FL

(D¢¥f€) . {C¢'!}’) _ (S¢G“’)
1949 McKi-nley live
l".lel'bour‘ne, FL. 32935-4'053
(P:oper£y Addre.rs)

1. Borrower's Prorniseto Pay. ln return for a loan that l have receivcd, I promise to pay U.S. _$ 152 . 884 . UU
(this amount is calch "Principal"), plus interest1 bo thc order of thc Lcndei'. Thc Lcndcr is OU`| Ck€ll LOBllS IHC -

l will make all payments under this Note in the form of cash, check or money ordcr.

I understand that the lender may transfer this Note. The lender or anyone who takes this Notc by transfer and who is
entitled to receive payments under this Nooe is called the "Note Holder.“

2. lnterest. Interest will be charged on unpaid principal until the full amount ofPrincipal has been paid I will pay interest at
a yearly rate of 3 . B? 5%.

The interest rate required by this Section 2 is the rate I will pay both before and after any default described in Section 6(B)
of this Note.

3. Payments.
(A) T`lme and Plaoe of Payments. l will pay principal and interest by making a payment every month

I will make my monthly payment on the lSi. day of each month beginning on FEDI`UE\I`_Y l . 2817 . I will
make these payments every month until I have paid all of the principal end interest and any other chargm described
below that I may owe under this Note. Each monthly payment will be applied as of its scheduled due date and will be
applied to interest before Principal. If, on Jdl'll.ldl`y 1 , 2047 , I still owe amounts under this Note, I will pay
those amounts in full on that date, which is called the "Maturity Date."

twin make my monthly payments ar P . O. Bo>< 6577, Car‘ol Str‘eem. IL 6019?
or at a different place if required by the Notc Holder.

(B) Amount of Monthly Payments. My monthly payment will be in the amount of U.S. $ 718 . 92

4. Borrower's Right to Prepay. The Boi:rower shall have the right to prepay at any time, without premium or fee, the
entire indebtedness or any part thereof not less than the amount of one installment or $ l 00.00, whichever is less. Any
Prepaymcnt in full ofthc indebtedness shall bc credited on the date rccoivcd, and no interest may be charged thereafter.
Any' partial Prepayment made on other than an installment due date need not be credited until the next following
installment due date or 30 days after such Prepaylnent, whichever is carlier,

5. Loan Charges. lf a law, which applies to this loan and which sets maximum loan charges, is ioally interpreted so that
the interest or other loan charges collected or to be collected in connection with this loan exceed the permitted limits, then:
(a) any such loan charge shall be reduced by the amount necessaty to induce the charge to the permitted ljm'r_t; and (b) any
sums already collected from me which exceeded permitted limits will be refunded to rne. The Note Holder may choose to

 

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Case 6:18-bk-06338-CC.] Doc 12-1 Filed 11/15/18 Page 2 of 25

make this refund by reducing the Principal I_ owe under this Note or by making a direct payment to me. If a refund reduces
Principal, the reduction will be treated as a partial Prepayment.

Bo_rrower's Failure to Pay as Req`uirod.

(A) Lafs Chargefor Overdue Payments.lt` the `Note Holdcr has not received the full amount of any monthly payment

by the end of Fi' fteen calendar days after the date it is due 1 will pay a me charge w the more nolan me
amount of the charge will be 4 . DUD% ot`my overdue payment I will pay this late charge promptly but only
once on each late payment. '

[B) Dofault. Ifl do not pay the hill amount of each monthly payment on the date it is due, l Will be in default

(C) Nol:ice Of Defaulf. lfl arn in default, the Note Holder may send me a written notice telling roe that if l do not pay
the overdue amount by a certain date, the Note Holder may require me to pay inunediately the full amount of
Principal Which has not been paid and all the interest that I owe on that amount That date must be at least 30 days
after the date on which the notice is mailed to me or delivered by other means

{D} No Walver By Nofe Holder. Eveb ii`, at n time when:l am in default, the Note Holder does not require me to pay
immediately in full as described above, the Note Holder will still have the right to do so if I am iri default at a later
time '

(E) Payrnent of Note Holder's Costs and Expenses.!f the Note Holder has required me to P€f)' unmediatelyiu full
as described above, the Note Holder will have the right to be paid back by me for all of its costs and expenses in
enforcing this Note to the extent not prohibited by applicable law. Those expenses include. for example, reasonable
attorneysl fees

Giving of Notices. Un|ess applicable law requires a different method, any notice that must be given to me under this
Note will be given by delivering it or by mailing it by first class mail to me at the Property Address above or at a different
address if l give the Note Holder n notice of my different address '

Any notice that must be given to the Note Holder under this Note will be given by delivering it or by mailing it by first
class mail to the Note Holder at the address smtecl- in Section B(A) above or at a different addiess ifl arn given a notice of
that different address.

Obligationso‘l PersonsUrlder this Note. lt more than one person signs this Note, each person is fully and personally
obligated to keep all ofthe promises made in this Note, including the promise to pay the full amount owed. Any person
who is a guarantor, surety or endorser of this Note is also obligated to do these things Any person who takes over these
obligations, including the obligations cfa guar-anton surety or endorser of this Note, is also obligated to keep all of the
promises made in this Note. The Note Holder may enforce its rights under this Note against each person individually or
against all of us together 'I`his means that any one of us may be required to pay all of the amounts owed under this Note.

Waivers, I and any other person who has obligations under this Note waive the rights of Presentment and 'Notice of
Dishonor. "Preeentment" means the right to require the Note Holder to demand payment of amounts due. "Notice of
Dishonor" means the right to require the Note Holder to give notice to other persons that amounts due have not been paid.

Allongoto this Noto. If an allonge providing for payment adjustments or for any other supplemental information is
executed by the Borrower together with this N`ote, the covenants of the allonge shall be incorporated into and shall amend-
and supplement the covenants of this Note as it` the allonge were a part of this Note. [Cbeck applicable box]

l:l Graduated Patymenl Allongc \:l Other [Specify] l:l Othe.r [Specify]

Documenlary`l`ax. The state documentary tax due on this Notc has been paid on the mortgage securing this
indebtedness

 

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Case 6:18-bk-06338-CC.] Doc 12-1 Filed 11/15/18 Page 3 of 25

‘12. Urliforrn Securod Nol'.e. Tbis Note is a uniform instrument with limited variations in some jurisdictions In addition to
the protections given to the Note Holder under this Note, s Mortgage, Deed of Trust, or Security Deed (the "Secm'ity
lustrument“), dated the some date as this Notc, protects tire Note l-lolder from possible losses Which might result if l do not
keep the promises which l make in this Note. ThaI Security Instrument describes how and under what conditions l may be

required to make immediate payment in full of all amountsl owe under this Notc. Somc ot`thosc conditions nrc described
as follows:

Ifnll or any part ofthe Property or any Int.erest in the Property is Sold or transferred (or if Borrower is note
natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written
consent, Lender may require immediate payment in full of` all sums secured by this Security Instrument.
However, this option shall not bc exercised by Lcnder if such exercise is prohibited by Applicnblo La\v.

lfLender exercises this option, lender shall give Borrower notice cf acceleration The notice shell provide a
period of not less than 30 days from the date the notice is given in accordance with Section 15 Within which
Borrower must pay all sums secured by this Sccurity Instrument. If Borrower fails to pay these sums prior to the
expiration of this period, Lender may invoke any remedies permitted by this Secm'ity Instrument without further
notice or demand on Borrower.

TRANSFER OF THE PROPBRTY: This loan may bc declared immediately duc end payable upon transfer of
the Property securing such loan to any transferee, unless the acceptability of the assumption of the loan is
established pursuant to Section 3714 of Chapter 3?, ‘I`itle 38, United Stutes Code.

An authorized transfer {"sssumption”) of the property shell also be subject to additional covenants and
agreements ss set forth beloW:

(a} ASSUMPTION FUNDING FEE:A. fee las specified in the Secin'ity Instn.uncnt] shall be payable at the
time of transfer to the loan holder or its authorized agent, as trustee for the Deparnnent of Veterans
Aii"sirs. lfthe assumer fails to pay this fee at the time of transfer. the fee shall constitute an additional debt
to that already secured by this instruman shall bar interest at the rate herein provided1 and, sit the option
of the payee of the indebtedness hereby secured or any nansneree thereof, shall be immediately due and
payable This fee is automaticallyweived if the assumer is exempt under the provisions of 38 U.S.C. 3729.

(b) ASSUMPT|`ON PROCESSINGCHARGE:Upon application for approval to allow assumption of this
loan. a processing fee may bo charged by mc loan holder or its authorized agent for determining thc
creditworthiness of the assumer and subsequently revising the holders ownership records when an
approved transfer is completed The amount of this charge shall not exceed the maximum established by
lite Deparl:ment of Veternus Aliiairs for a loanto which Sec'tion 3714 of Chapter 37, 'I`itle 38. United States
Code applies

(c} ASSUMPTION lNDEMNITY LlABll..lTY:iftbis obligation is nssumed, then the assumor hereby agrees
to assume all of the obligations of the veteran under the terms ofthe instruments creating and securing the
loan. The sss\uner further agrees to indemnify the Depa.rlrnent of Veterans Affairs to the extent of any
claim payment arising from the guaranty or insurance of the indebtedness created by this instrument

Regulstions (33 C.F.R. Part 36) issued under the Department of'Vetcrans Affsirs ("VA") Guaranteed Loan Authority (38
U.S.C. Chepter 37} and in effect on the date of loan closing shall govern the rights, duties and liabilities of the parties to this
loan and any provisions of this Note which are inconsistent with such regulations are hereby amended and supplemented to
conform thcreto.

 

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Case 6:18-bk-06338-CC.] Doc 12-1 Filed 11/15/18 Page 4 of 25

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M/%D 12;1912015 (Sea£) _ 12/19/2016 (Seal) .
Mdnl.leq ME!'\'! Z€ -Borrower RUth M€r'l`lZe -Borrower

 

 

 

(Se¢=v (Seal)
-Borrower -Borrower

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[B:'g:e Or:'g£MK O.¢zZ y j

\:l R.efer to the attached S£'gnamre Aa'dendum for additional parties and signaturcs.

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Pay To the Order of

` QWEN LoANe \Nc.
B,. // L

/ N'AD|NE BORJA_
cAPTURE MANAGER

 

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Case 6:18-bk-06338-CC.] Doc 12-1 Filed 11/15/18 Page 5 of 25

Retum To:

Document Hauagement
Quicken Loans Inc.

1050 woodward Ave
Detroir., Hl 43226-1906'

Tnis document was prepared by:

Quicken Loans Inc
1050 woodward Ave
|Jetroit. Hl 48226 1906

 

 

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MORTGAGE

DEFMTIONS

Words used in multiple sections of this documem are defined below and other words are defined in
_Sections 3, 11, 13, 18., 20 and 21, Certain rules regarding the usage of words used in- this document nrc
also provided in Section 16.

(A) "Se¢:u-ritylnstrument“`means this document, which is dated DECEIT|b€r’ 19.. 2016 ,
together with all Riders to this document . _ _
(B} “non-ower"n Ma_nuel Meru' ze- and Ruth Mem ze. husband and m fe

 

Borrower 13 the mortgagor under this Seourity lustrument

(C) "MERS" ls Mortgnge Eleotronic Regis'rration Syste'ms, Inc. MBRS is a separate corporation that is
acting solely ns n nominee for Lender and Lender's successors and assigns MIE.RS is the mortgagee
under this Security instrument MERS is organized and existing under the laws of Delaware, and has an
address and telephone number ofP.O. Box 2026, Fl`mt, M] 48501-2026, tel. (888)- 619-MERS.

(n) "Lender"is 01.11` c!<en Loans Inc.

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Case 6:18-bk-06338-CC.] Doc 12-1 Filed 11/15/18 Page 6 of 25

Lsnderiss Cor‘por‘ation

organized and existing underthe laws of tile S`i'.i:li,€ 01c M`i Ci'l'i gail
Lsnd¢rssdaiessis 1050 Hcodwar‘d Ave, Detroit. MI 48226-1906

(E) "Note" mms the promissory note signed by Bon'ower and dated DECE[HDEP 1 19 , 2016
The Note states that Borrower owes Lender 009 HUllCil"€Ci F'| fly TWO ThOUSElHd E`l gilt

Hundr‘ec| Ei ghty Four1 and 001100 collars
(U.S. $ 152 , 884 . 00 - ) plus interest Borrower has promised to pay this debt in regular Periodic
Payments and to pay the debt in full not latc'r than dell.ld\"y 1 ,' 204? .

(F) "Pruperty"means the property that is described below under the heading "'l`ransfer of Rights in the
Property." ‘

(G) "Loun" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges
due under the Note. and all sums due under this Security ln_snument, plus interest

(H] "Rlders" means all R.iders to this Security Insu'ument that are executed by Borrower, The following
Riders are to be executed by Borrower [checl-: box ns applicable]:

l:|- Adjn_snbls nars aider |:| Conaominin;a kiser l:! second name aider
i:i` Balloon Ricler i:i Plan.ncd Uuit Development Ricler i:i 1-4 Parnily Rider
vA aider |:i similarly hyman aider E] owens Lspsci§yl
Legal Attache

(I) "Apl)iicnble Law" means ali controlling applicable federal, state and local statutcs, regulations,.
ordinances and administrative rules and orders (that have the eH`ect of Iaw) ns Well as all applicable tinal,
non-appealable judicial opinions

(J) "Cornmunil'y Ass_ocintion Dues, Fees, and Assessments" means all dues, fees. assessments and other
charges that are imposed on Borrower or the Rroperl'y by a condominium association1 homeowners
association or similar organization

(K) "Electrnnlc Funds Transfer" means any transfer of funds, other than a transaction originated by
checlc. draft, or similar paper instrument which is initiated through an electronic tenninal, telephonic
instrument computcr, or magnetic tape so as to ordcr,- instruct or authorize a financial institution to debit
or credit an account Such term includ`es, but is not limited to, point-oilsale transfers, automated teller
machine transactions, transfers initiated by telephone, wire transf`eas, and automated clearinghouse
cansfers. -

[L) "Escrow Items" means those items that are described in Scction 3.

(M) "Misccllaneous Proceeds" means any oompensa-tion-. settlement award of damages, or proceeds paid
by any third party (othcr than insurance proceeds paid under the coverach described in Section 5) for: (i)
damage to,` or destruction of`, the Property; (ii) condemnation or other taking of all or any part of the
Property; (iii) conveyance in lieu of condemnation; or (iv) misrepresentations of. or omissions as to, the
value and.-‘or condition of the Property. -

(N) "Mortgagc Insurance" means insurance protecting Lcnder against the nonpayment oi‘, or default on,
the Loan. '

(O) "PeriodicPayment" means the regularly scheduled amount due for (i) principal and interest under the
Notc, pins (ii) any amounts under Section 3 ot` this Security Instrurnent.

FLDR!DAS|ngle Fam||y-Fannie Mae)'Freddle Mac UNIFORM lNSTRUl'¢'|ENT Wl`l1-l MERS

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C-ase 6:18-bk-06338-CC.] Doc 12-1 Filed 11/15/18 _Page 7 of 25

(P) "R.ESPA" means the Rea-l Estate Settlement Procednres- Act -(12 U.'S.C. Scct-ion 2601 et seq.) and its
implementh regulation chulatio'n X (12 C.F.R. Part 1023), as they might be amended from time to
time, or any additional or successor legislation or regulation that governs the same subject matter. As used
in this S`ecu`rity instrlnnent. "RESPA" refers to all requirements and restrictions that are imposed in regard
to a "federal_ly related mortgage loan" even if the Lo`an does not qualify as a "i`ederally related mortgage
loan"` under RESPA. _ ,

[Q] “Sueeessorln Interest of Burrower" means any party that has taken title to the Property, whether or
not that party has assumed Bormwcr's obligations under the Note and)‘or this Security Instrument.

TRANSEER. OF RIGHTS IN THE PROPERTY

This Security Instnunenr secures.to Lender: (i) the repayment of the Loan, and all renewals extensions and
modifications of the Note; and {ii) the performance of Bo:rower's covenants and agreements under this

Security Instl'ument;and the Note. For this purpose, Borrower does hereby mortgage, grant and convey to .

MERS (solely as nominee for Lend'er and Lender's successors and assigns)' and to the successors and
assigns-ofMERS, the following described property located in the COll-fll‘,y ['l`ypeofReccrding Im-isdiction]
cf Bl"‘€\l a Y`Cl` [Name ofRecording Ju.risd.io':ion]:

SEE EXHIBIT "A" ATTACHED HERETO AND MADE A PART HEREOF.
SUBJECT TU CDVENANTS OF RECORD.

Parcel lD Number_: 2`?2_2914 which currently has the address of
1949 McKi nl ey Ave ' [stmq
Mel hon me [ciry]., stands 32935-4053 [zip coin

("Propert-y Axldrcss"):

'I`OGETHER WITH all the improvements now or hereafter erected on the property, and all
easements, appurtenances and fixtures now or hereafter a part of the property. All replacements an_d
additions shall also be covered by this Seourity lnsl'rument. All of the foregoing is referred to 111-this
Secu.ri-ty Instnlmcnt as the "P-roperty..“ Borro\ver understands and agrees that 'MERS holds only legal title
to the interests granted by Borrower in this Security lnstrumeut, but, if necessary to comply with law or
oustom, MERS (as nominee for Lender and Lender's successors and assigns) has the right to exercise any
or all of-those interests, includ`in , but not limited to-, the right to foreclose and sell the Property; and _to
take any action required of Len§er including, but not limited to, releasing and canceling this Soonrtty
lnstrutnent. _

FLOR||JArSin gle- Family-Fannle l'¢taoll.=reddle_ Mae UN!FORM lNSTRUMENT Wl'l'l-l MERS
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Case 6:18-bk-06338-CC.] Doc 12-1 Filed 11/15/18 Page 8 of 25

BOR'ROWER COVENANTS that B'orrowcr is lawfully seised of the estate hereby conveyed and has
the right to mort,gz=).get grant and convey the Property and that the Property is unencumbered, except for
encumbrances ot`record. Borrower Warrants and will defend generally the title to the Property against all
claims and demands, subject to any encumbrances ofrecord.

THIS SECURITY WSTRUMENT combines uniform covenants for national usc and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
PI‘OP¢"Y-

U’N'IFORM COVENANTS. Borrower and Lender covenant and_agree as follows:

1. Payment of Principal, Interest, Esercvv Items, Prepayment Charges, and Late Clmrges.
Borrower shall pay when due thc principal of, and interest on, the debt evidenced by the Note and any
prepayment charges and late charges due under the Note. Borrower shall also pay funds for Escrow Items
pursuant to Section 3. Payments due under the Note and this Security instrument shall be made in U.S.
currency. Howevcr, it“ any check or other instrument received by bender as payment under the `Note or this
Security Instrument is returned to l..cnder unpaid, Lender may require that any or all subsequent payments
due under the Note and this Security Instrurnent be made in one or more of the following forrns, as
selected by Lender: (a) cash; (b) money ordei”, (c) certified check, bank check, treasurer's check or
cashier's chec.k, provided any such check is drawn upon an institution whose deposits a:re insured by a
federal agency, instrmnentality, or entity; or (d) Electronic Funds.‘l‘ransfer.

Payments are deemed received by bender when received at the location designated in the Note or at
such other location as may be designated by Lender in accordance with the notice provisions in Section 15.
Lender may return any payment or partial payment if the payment or partial payments are insufficient to
bring the Loan current Lender may accept any payment or partial payment insufficient to bring the Loen
current, without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial
payments in the t`nture_, but bender is not obligated to apply such payments at the time such payments are
accepted If each Periodic Payrnent is applied as of its_ scheduled due date, then lender need not pay
interest on unapp|ied funds lender may hold such unapplied funds until Botrower makes payment to brin'g
the Loan current. li` Bon'ower does not dc so within a reasonable period of time, Lendet' shall either apply
such funds or return them to Bottowetu It` not applied earlier, such funds will be applied to the outstanding
principal balance under the Notc immediately prior to foreclosurel No offset or claim which Borrower
might have now or in the future against Leuder shall relieve Borrower from making payments due under
the Notc and this Security lnstrurnent or performing the covenants and agreements secured by tlu's Security
lnstrument. _

2. Application of Payments cr Prnceeds. Bxcept as otherwise described in this Section 2., all
payments accepted and applied by Lender shall be applied in the following'order of priority: (a) interest
due under the Note; {b) principal due under the Note; (c) amounts due under Section 3. Such payments
shall be applied to each Periodic Payment_ in the order in which it became due, Any remaining amounts
shall be applied first to late charges, second to any other amounts due under this Security lustrument, and
then to reduce the principal balance of the Note.

lf Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and
the late charge. If more than one Periodic Payment is outstandingq Lcnder may apply any payment received
from .Borro\ver to the repayment cf the Periodic Payments if, and to the extent that, each payment

FLOR|DAS|ng|e Faml|y-Fannle M`aell~`~‘reddic Mae UNIFORM lNSTRLlMENT \NlTH MERS

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Case 6:18-bk-06338-CC.] Doc 12-1' Filed 11/15/18 Page 9 of 25

can be paid in full. To the extent that any excess exists alter the payment is applied to the full payment of
one or more Periodic Payments, such excess may be applied to any late charges due. Voluntary
prepayments shall be applied first to any prepayment charges and then as described in the Note.

Any application of payments insurance proceeds or Miscellaneous Proceeds to principal due under
the Note shall not extend or postpone the due date, or change the amount, cf the Periodic Payments.

3-. Funds for Escrow Items. Bozrower shall pay to lender on the‘day Periodic Payments are due
under the Note, until the Note is paid in tilll, a sum (the "Funds“) to provide for payment of amounts due
fort [a) taxes and assessments and other items which can attain priority over this Security lnstrument as a
lien or encumbrance on the Property`; (b) leasehold payments or ground rents on the Properry, if any; (c)
premiums for any and all insurance required by Lender under Section 5; and (d) Mortgage lnstnance
premiums if any, or any sums payable by Borrower to Lender in lieu of the payment of Mortgage
insurance premiums in accordance with the provisions of Section 10. These items are called "Escrow
ltems." At origination or at any time during the tenn ot` the l.oan, Lendcr may require that Ccrnmuniry
Associaficn Dues, Fees1 and Assessments. if any, be escrowed by Bcrrower, and such dues. fees and
assessments shall be an Escrow [tem. Boi-‘rower shall promptly furnish to Lender all notices ot` amounts to
be paid under this Section. Borruwer shall pay l'_.ender the Funds for Bscrow Items unless Lender waives
Borrower‘s obligation to pay the Funds for any or all Bscrow Items. Lender may waive Borrower's
obligation to pay to Lender Funds for any or all Escrow Items at any -tirne. Any such waiver may only be
in writing. ln the event of such waiver, Borrower shall pay directly, when and where payable, the amounts
due for any Bscrow ltems for which payment of T-`unds has been waived by Lender and, if Lender requires,
shall fumish to l_,ender receipts evidencing such payment within such time period as L.ender may require
Borrowcr's obligation to make such payments and to provide receipts shall for ali purposes be deemed to
be a covenant and agreement contained in this Security In.sn'ument, as the phrase ”covenant and agreement"
is used in Seetion 9. If Borrower is obligated to pay Eserow Iterns directly, pursuant to a waiver, and
Borrower fails to pay the amount due fo;r an Escrow Item, Lendet_' may exercise its rights under Section 9
and pay such amount and Borrower shall then be obligated under Section 9 to repay to bender any such
amount. Lender may revoke the waiver as to any or all Eserow lterns at any time by a notice given in
accordance with Section 15 and., upon such revocation, Borrower shall pay to Lender all Funds, and in
such amounts that are then required under this Section 3.

Lender may, at any time, collect and hold Funds in an amount (a). sufficient to permit Lender to apply
the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can
require under RESPA. Lender shall estimate the amount of Punds due on the basis of current data and
reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable
T_aw. `

Thc Funds shall be held in an institution whose deposits arc insured by a federal agency1
instrumentality, or entity (iucluding Lender, if l_.ender is -an institution whose deposits are so insm'ed) or in
any Federal Hon:ie Loan Bank. Lender shall apply the Funds tc pay the Escrow Items no later than the time
specified under RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually
analyzing the escrow account1 or verifying the Escro\v ltcms, unless Lendc;r pays Borrower interest on the
Funds and Applicable Law permits Lender to make such a eharge. Unless an agreement is made in writing
or Applicable Law requires interest to be paid on the Flmds, Lendcr shall not be required to pay Borrower
any interest or earnings on the Funds. Borrower and Leuder can agree in \vriting, hcwever, that interest

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Case 6:18-bk-06338-CC.] Doc 12-1 Filed 11/15/18 Page 10 of 25

 

shall be paid on the Pnnds. Lender shall give to §Borrowen without charge, an annual accounting of the
Funds as required by RBSPA1 -

if there is a surplus of Funds held in escrow, asidetined under R.ESPA, lender shall account to
Borrower for the excess funds in accordance with RESPA. If there is a shortage of l~`unds held in escrow,
as defined under RESPA, Lender shall notify Borrower as required by R.ESPA, and Borrower shall pay to
Lender the amount necessary to make up the shortage’i.n accordance with RESPA. but in no more than 12
monthly payments lf` there is a deficiency of I"unds held in escrow, as detined under RESPA, I..ender shall
notify Borrowcr as required by RESPA, and Borrower shall pay to Lender the amount necessaryto make
up the deficiency in accordance with RESPA, but in no more than 12 monthly payments

Upon payment in full of all sums seemed by this Security lnstrument, Lender shall promptly reiimd
to Borro\ver any Funds held by Lender.

4. Charges; Liens. Borrower shall pay all taxes, assessments charges, tines, and irnpositions
attributable to the P‘roperty which can attain priority over this Security Tnstruruent, leasehold payments or
ground rents on thc Property, if any, and Connrrunity Association D_ucs, Fees, and Assessmcnts, if any. 'I'o
the extent that these items are Escrow Iterns. Borrower shall pay them in the manner provided‘in Scction 3.

Borrower shall promptly discharge any lien which has priority over this Security lnstrument unless
Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable
to Lender, but only So long as Borrower is performing sucb'agreement; (b) contests the lien in good faith
by, or defends against enforcement of the lien in1 legal proceedings which in Lender's opinion operate to
prevent the enforcement of the lien while those proceedings are pending, but only until such proceedings
are concluded; or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating
the lion to this Sccurity In_strument. If Lcnder determines that any part of the Propert‘y is subject to a lien
which can attain priority over this Securi|y Instrnm.ent, lender may give Borrower a notice identifying the
lien. Within 10 days of the date on which that notice is given, Borro\ver shall satisfy the lien or take one or
more of the actions set forth above in this Section 4.

Lendcr may require Boirower to pay a one-time charge for a real estate tax verification nnd)'or
reporting service used by Lender in connection with this Loan.

5. Property Insurance. Borro\ver shall keep the improvements now existing or hereafter erected on
the Property insured against loss by iire, hazards included within the term "extended coverage," and any
other hazards including but not limited to, earthquakes and floods, for which Lender requires insurance
This insurance shall be maintained in the amounts (inclnding deductible levc|s] and for the periods that
Lender requires What Leuder requires pursuant to the preceding sentences can change during the term of
the Loan, The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender's
right to disapprove Borrower's choice, which right shall not be exercised unreasonably Lender may
require ,Borrowor to pay. in connection with this Loan, cither: (a) a one~timc charge for flood zone
determination, certification and tracking services; or (b) a one-time charge for flood zone determination
and certification services and subsequent charges each time remappings or similar changes occur which
reasonably might affect such determination or certification Borrower shall also be responsible for the
payment of any fees imposed by the Federal Emergency Managernent Agcncy in connection with the
review ofany flood zone determination resulting from an objection by Borrower.

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Case 6:18-bk-06338-CC.] Doc 12-1 Filed 11/15/18 Page`ll of 25

If Borrower fails to maintain any of the coverages described above', Lcnder may obtain insurance
coverage at Lender‘s option and Borrower’s expense Lender is under no obligation to purchase any
particular type or amount of coverage Therefore, such coverage shall cover Lender, but might .or might
not protect Borrower, Borrower's equity in the Property, or the contents of the Property, against any risk,
hazard or liability and might provide greater or lesser coverage than was previously in effect Bon'ower
acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
insurance that Borrower could have obtained Any amounts disbursed by l_.ender under this Section 5 shall
become additional debt of Borrower secured by this Security instrument ‘These amounts shall bear interest
at the Notc rate from the date of disbursement and shall be payablc, with such interest upon notice from
Lender to Borrovver requesting payment `

All issuance policies required by Lender and renewals of such policies shall bc subject to Lender‘s
right to disapprove such policies shall include a standard mortgage elause, and shall name lender as
mortgagee and)'or as an additional loss payee. Lcm:ler shall have the right to hold the policies and renewal
certificates ]f Leud'er requires, Borrower shall promptly give to Lender all receipts of paid premiums and
renewal notices. If Borrower obtains any form of insurance coverage, not otherwise required by Lcuder,
for damage to, or destruction of, the Property, such policy shall include a standard mortgage clause and
shall name lender as mortgagee anchor as an additional loss payee

In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. lender
may make proof of loss if not made promptly by Borrower. Unless 'Lender and Borrower otherwise agree
in \vriting, any insurance proceeds whether or not the underlying insurance was required by Lender, shall
be applied to restoration or repair of the Propelty, if the restoration or repair is economically t`easible and
Lender's security is not lessened Duriug such repair and restoration pcriod, Lendcr shall have the right to
hold such insurance proceeds until Lender has had an opportunity to inspect such Property to ensure the
work has been completed to Lender's si).i:isfaetionl provided that such inspection shall be undertaken
promptly. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series
of progress payments as.the work is completedl Uuless an agreement is made in writing or Applicable Law
requires interest to be paid on such insurance proceed`s, Lender Shall not be required to pay Borrower anyr
interest or earnings on such proceeds Fees for public adjusters, or other third parties, retained by
Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borro\ver. If
the restoration or repair is not economically feasible or Leuder's security \vould be lessened; the insurance
proceeds shall be applied to the sums secured by this Seetuity lnstrurnent, whether or not then due, with
the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the order provided for in
Section 2.

If` Borrower abandons the 'F"ropert),r1 bender may file, negotiate and settle any available insurance
claim and related matters If Borro\ver does not respond within 30 days to a notice from Lender that the
insurance carrier has olT`ercd to settle a eIairu, then Lender may negotiate and settle the elairn. 'l` he 30-day
period will begin When the notice is given ln either eveut, or if Lender acquires the Property under
Section 22 or other\vise, Borrower hereby assigns to Lender (s) Borrower's rights to any insurance
proceeds in an amount not to exceed the amounts unpaid under the Note or this Secm'ity lnsu'ument, and
(b) any other of Borrowel‘s rights (other than the right to any refund of unearned premiums paid by
Borrower) under all insurance policies covering the Property, insofar as such rights are applicable to the
coverage cf the Propcrty. Lendcr may use the insurance proceeds either to repair or restore the Propcrty or
to pay amounts unpaid under the Note or this Security Instrurnent, whether or nor chen due

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Case 6:18-bk-06338-CC.] Doc 12-1 Filed 11/15/18 Page 12 of 25

6. occupancy Borrower shall occupy, establish, and use the Property as Borrower's principal
residence within 60 days after the execution of this Sccurity lnstrument and shall continue to occupy the
Property as Borrower's principal residence for at least one year a&er the date of occupancy, unless lender
otherwise agrees in writing, which consent shall not be unreasonably withhel.,d or unless extenuating
circumstances exist which are beyond Borrower's control

7. Preservation, Maintenanee and Protection of the Property; Inspections. Borrower shall not
' destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the
Proper‘ty. Whether or not Bon~ower is residing in the Property, Borrower shall maintain the Property in
order to prevent the Propcrty from deteriorating or decreasing in value due to ita condition Unlcss it is
determined pursuant to Seetion 5 that repair or restoration is not economically feasible, Borrower shall
promptly repair the Property if damaged to_ avoid further deterioration or damage If` insurance or
condemnation proceeds are paid in connection with damage to. or the taking of, the Property, Borrower
shall be responsible for repairing or restoring the Property' only if Lender has released proceeds for such
purposes Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of
progress payments as the work is completed If the insurance or condemnation'proceeds arc not sufficient
to repair or restore the Property, Borrower is not relieved of Bortower's obligation ti>r the completion of
such repair or restoration

Lerrder or its agent may make reasonable entries upon and inspections of the I-.‘roperty. If it has
reasonable cause, l..ender may inspect the interior of the improvements on the Property. Lender shall give
Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.

8. Borrower's Loan Applieation. Bon'ower shall be in default if`, during the Loan application
proccsa, Borrowcr or any persons or entities acting at the direction of Borrower or with Borrowcr'$
knowledge or consent gave materially false, misleading or inaccurate information or statements to I..ender
(or failed to provide Lender with material information] in connection with the Loon. Material
representations include, but are not limited to, representations concerning Borrower's occupancy of the
Property as Borrowor's principal residence

9. Protection of- Lender' s Interest in the Propcrty and Rights Under this Security lnstrument. If
(a) Borrower fails to perform the covenants and agreements contained m this Security lnstrument, (b) there
is a legal proceeding that might significantly affect Lender‘s interest in the Property and!or rights under
this Security Insniunent (such as a proceeding 111 bankrnptey, probate, for condemnation or forfeiture, for
enforcement of a lien which may attain priority over this Sccurity lnstrurnent or to enforce laws or
regulations), or (c) Borrower has abandoned the Property, then Lender may do and _pay for whatever is
reasonable or appropriate to protect Lender's interest in the Property and rights under this Security
Iustrument, including protecting audfocr assessing the value of the Property, and securing and)`or repairing
the Property. Lender‘s actions can include, but are not limited to: (a) paying any sums secured by a lien
which has priority over this Seeurity lostrument; (b) appearing in court1 and (e) paying reasonable
attorneys fees to protect its interest in the Property andfor rights under this Security Instrument, including
its secured position in a bankruptcy proceeding Securing the Property includes, but is not limited to,
entering the Propcrty to make repairs1 change loeks, replace or board up doors and windows, drain water
from pipes, eliminate building or other code violations or dangerous conditions, and have utilities turned
on or off. Although Lender may take action under this Section 9, Lender does not have to do so and is not

under any duty or obligation to do so. It is agreed that Lendcr incurs no liability for not taking any or all
actions authorized under this Section 9.

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Case 6:18:bk-06338-CC.] ‘Doc 12-1 Filed 11/15/18 Page 13 of 25

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower
secured by this Secnrity Instrument. "i`hcse amounts shall bear interest at the Note rate from the date of`
disbursement and shall be payable, with such interest, upon notice from Lender to Borrower requesting

a mcnt.
P y lf this Secnrity Instrument is on a leasehold, Bolro\ver shall comply with all the provisions of the
lease. It` Borrower acquires fee title to the Properry, the leasehold and the fee title shall not merge unless
Lender agrees to the merger in writing y

10. Mortgage l_n_surauoe. If Lender required Mortgage Insurance as a condition of making the loan1
Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect H, for any reasqu
the Mortgage Insnrance coverage required by Lender ceasesto be available irons the mortgage insurer that
previously provided such insurance and Bot-‘rower Was required to make separately designated payments
toward the premiums for Mortgagc Insurance, Borrower shall pay the premiums required to obtain
coverage substantially equivalent to the Morrgage Insurance previously in effect, at a cost substantially
equivalent to the cost to Borrowen' of the Mortgage insurance previously in effect, from an alternate
mortgage insurer selected by l'_,ender. If` substantially equivalent Mortgage Insurance coverage is not
available, Borrower shall continue to pay to Lender the amount 'of-` the separately designated payments that
were due when the insurance coverage ceased to be in effect Lender will accept, use and retain these
payments as a non~rel`undnble loss reserve in lieu of Mortgage Insuranec. Such loss reserve shall be
non-remndablc, notwithstanding the fact that the Loan is ultimately paid in tull, and L.ender shall not he
required to pay Borrower any interest or earnings on such loss reserve Lender can no longer require loss
reserve payments if Mortgage insurance coverage (in the amount and for the period that Lcnder requires)
provided by an insurer selected by Lender again becomes ava-ilable, is obtaincd, and Lender requires
separately designated payments toward the premiums for Mortgage Insurance. lf Lender required Moitgagc
Insurance as a condition of making the Loan and Borrower was required to make separately designated
payments toward the premiums for Mortgage Tnsurance, Horrower shall pay the premiums required to
maintain Mortgage Insurance in eft`ect, or to provide a non-refundable loss reserve, until I_,ender‘s
requirement for Mortgage lnsurance ends in accordance with any written agreement between Borrower and
lender providing for such termination or until termination is required by Applicable Law. Nothing in this
Section l0 effects Borrower‘s obligation to pay interest at the rate provided in the Noic.

Mortgage Insmance reimburses Len_d'er (or any entity that purchases the Note) for certain losses it
may incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage
lnsurance.

Mortgage insiners evaluate their total risk on all such insruance in force from time to time, and may
enter into agreements with other parties that share or modify their risk., or reduce losses. These agreements
are on terms and conditions that are satisfactory_to the mortgage insurer and the other party (or parties) to
these agreements These agreements may require the mortgage insurer to make payments using any source
of funds that the mortgage insurer may have available (Which may include frauds obtained from Mortgage
losinance premiums). . `

As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer,
any other entity, or any affiliate of any of the foregoing may receive (directly or iodirectly) amounts that
derive from for might be characterized as) a portion of Borrower's payments for Mortgage lnsmance, in
exchange for sharing or modifying the mortgage insurers risk, or reducing losses Ii` such agreement
provides that an affiliate of Lcoder takes a share of the insurer's risk in exchange for a share of the
premiums paid to. the insurer, the arrangement is often termed "captive reinsurance." Further:

_ {a) Any such agreements will not affect the amounts that Borrower has agreed to pay for
Mortgage Insurance, or any other terms of the Lnan. Such agreements will not increase the amount
Borrower will owe for Mortgage Insurnnce, and they will not entitle `Borrower to any refund. '

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Case 6:18-hk-06338-CCJ Doc 12-1 Filed 11/15/18 Page 14 0f.25

(b) Any such agreements will not affect the rights Borrower has - if any - with respect to the
Mortgage lnsurance under the I-lomcowners Protection Act of 1998 or any other law. These rights
may include the right to receive certain disclasures, to request and obtain cancellation of the
Mortgage lnsurance, to have the Mortgage lnsnranee terminated automatically, and!or to receive a
refund of any Mortgagc Insurance premiums that were unearned at the tlme of such cancellation or
termination

ll. Assignmont of Miscellaneous Proceeds; Forfeiture.' All Miscella.neous Procoeds are hereby
assigned to and shall be paid to Lender.- '

if the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of
the Property, if the restoration or repair is economically feasible and Lender's security is not lessened
Dun'ng such repair and restoration period, Lender shall have the right to hold such Miscel[aneousProceeds
until Lender has had an opportunity to inspect such .Properly to ensure the Work has been completed to
Lender's satisfaction, provided that such inspection shall be undertaken promptlyl Lender may pay for the
repairs and restoration in a single disbursement or in a series of progress payments as the work is
completed Uuless an agreement is made in writing or App[icab|e La\v requires interest to be paid on such
Miscellaneons Proceeds, Lender shall not bc required to pay Borrower any interest or earnings on such
Miscellancous Proceeds. lt` the restoration or repair is not economically feasible or Lender's security would
be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security lnstrurnent,
whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be
applied in the order provided for in Section. 2.

ln the event ot` a total taking, destruction1 or loss in value of the Properiy. the Miscellaneons
Proceeds shall be applied to the sums secured by this Secnrity lnstrument, whether or not then due, with
the excess, ifany, paid to Borrower.

In the event of a partial taking, destruction, or loss in value ot` the Properly in which the fair market
value of the Propcrty immediately before the partial taking. destruction, or loss in value is equal lo or
greater than the amount of- the sums secured by this Security Instrument immediately before the partial
taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums
seemed by this Security Inshument shall be reduced by the amount of the Miscellaneous Procecds
multiplied by the following Eraction: (a) the total amount ot` the sums secured innnediatcly before the
partial takiog, destruction, or loss in value divided by (b) the fair market value of the Property
immediately before the partial taking, destruction, or loss in value. Auy balance shall be paid to Boctower.

ln the event ot` a partial taking, destruction or loss in- value of the Property in which the fair market
value of the Property immediately before the partial taking, dcsh'uction1 or loss in value is less than the
amount of the sums secured immediately before the partial taking, destruction, or loss in value, unless
Borrower and Lender otherwise agree in writing, the Miscellaneous E'roceeds shall be applied to the sums
secured by this S'ecnrity lnstnnneut whether or not the sums are then due. 1

ll` the Propet'ty rs abandoned by Bon'ower, or if, after notice by Lencler to Borrower that the
Opposing Party (as defined in the next sentence] offers to make an award to settle a claim for damages.
Bonower fails to respond to T_,ender within 30 days after the date the notice is given, l_,cnder is authorized
to collect and apply the Miscellaneons Proceeds either to restoration or repair of the Property or to the
sums secured by this Socnr.ity lnstmment, whether or not then due. “Qpposing P_arty" means the third party
that owes Borrower Miscellaneous Proceeds or the party against Whorn Borrower has a right of action in
regard to Misccllaneous Procccds.

Borrower shall be in default if any action or proceeding whether civil or criminal, is begun that, in
Lendel‘s judgment could result in forfeiture of the Property or other material impairment of Lender‘s
interest in the Propcrty or rights under this Seonrity instrument Borro\ver can cure such a default and, if
acceleration has occurred, reinstate as provided in Seciion 19, by causing the action or proceeding to be
dismissed with a ruling that. _in Lender's judgme precludes forfeiture ot` the Prope`rty or other material
impairment of I..cnder‘s interest in the Property or rights under this Securiiy lustrnment. The proceeds of

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any award or claim for damages that are attributable to the impairment of Lender's interest in the Property
are hereby assigned and shall be paid to l_.ender.

Ail Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be
applied in the order provided for in Section 2.

12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
payment or modification of amortization of the sums secured by this Security lnstrument granted by Len.der
to Borrowcr or any Suocessor in interest of Borrower shall not operate 1:0- release the liability of Botrower
or any Successors in lnterest of Borrower. Lender shall not be required to commence proceedings against
any Snccessor in lnterest of Bolro\ver or to refuse to extend time for payment or otherwise modify
amortization of the sums Secured by this Securit'y Instrtnncnt by reason of any demand made by the original
Bon'ower or any Suocessors in lnterest of Borrower. Any forbearance by Lender in exercising any right or
remedy including, without limitation, l_,ender's acceptance of payments horn third persons entities or
Successors in lnterest of Bcrrower or in amounts less than the amount then due, shall not be a waiver of or
preclude the exercise of any right or rcmedy.

13. .Tnint and Several Litlbflity; Co-signers; Succes$crs and Assigns Bound. Borrower covenants
and agrees that Borrower's obligations and liability shall be joint and several However, any Borro\ver who
cca-signs this Securif'y Instrument but does not execute the Note (a "co~signer"): (a) is cio-signing this
Security Instrument only to mortgage1 grant and convey the eo-signer's interest in the Property under the
terms of this Security Instrument; (b) is not personally obligated to pay the sums seemed by this Security
Instrnment; and (c) agrees that Lencler and any other Borrower cnn agree to extend, modify, forbear or
make any accommodations with regard to the terms of this Security lnstrumcnt or the Note without the
co-si ner‘s consent

_ object to the provisions of Sectiou lS. any Successor in Intenest of Bon‘ower who assumes
Borro\ver’s obligations under this Security Instrumcnt in writing, and is approved by Lendcr, shall obtain
all of Borrower's rights and beueiits under this Security Instrument. Borrower shall not be released from
Borrower’s obligations and liability under this Security lnstrument unless l.ender agrees to such release in
writing. 'I'he covenants and agreements of this Security Insh'ument shall bind (except as provided in
Section 20) and benefit the successors-and assigns of Leudcr.

14. loan Charges. Lender may charge Borrower fees for services pcrfonned in connection With
Borrower's default1 for the purpose of protecting Lendcr's interest in the Property and rights under this
Secun`ty lustrument, including, but not limited to, attemeys' i`ees, property inspection and valuation fees.
ln regard to any other fees, the absence of express authority in this Security Instrnment to charge a specific
fee to Borrower shall not be construed as a prohibition on the charging of such t`ee. Lendcr may not charge
fees that are expressly prohibited by this Security lustrurnent or by Applicable Law.

Ifthc loan is subject to a law which sets maximum loan charges1 and that law is finally interpreted so
that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
permitted Iimits, then: (a) any such loan charge shall be reduced by the amount necessary to reduce the
charge to the permitted limit; and (b) any sums already collected from Borrower which exceeded permitted
limits Will be refunded to Borrower. lender may choose to make this refund by reducing the principal
owed under the Notc or by making a direct payment to Borrower. li' a refund reduces principal, the
reduction Will be treated as a partial prepayment without any prepayment charge (whether or not a
prepayment charge is provided for under the Note). Borrower's acceptance of any such relimd made by
direct payment to Borrowcr will constitute a waiver ot` any right of action Borrower might have arising out
of such overchargc.

15. Notices. All notices given by Borrower or Lender in connection with this Security lnstrument
must be in writing. Any notice .to Borrower in connection with this Security Instrument shall be deemed to
have been given to Borrower when mailed by first class mail or when actually delivered to Borrowcr's
notice address if sent by other means. Notice to any one Borrowcr shall constitute notice to all Borrowers

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Case 6:18-bk-06338-CC.] DOC 12-1 Filed 11/15/18 Page 16 oi_ 25

unless Applicable Law expressly requires otherwise rl`he notice address shall be the Property Address
unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly
notili_,r Lendcr of Borrower's change o.t` address lf lender specifies a procedure for reporting Borrower's
change ot` address then Borrower shall only report a change of address through that specified procedure
There may be only one designated notice-address under this Sectn'ity lnstrument at any one time. Any
notice to Lender shall be given by delivering it or by mailing it by first class mail to Lender's address
stated herein unless Lender has designated another address by notice to Borrower. Any notice in
connection with this Security lnstrument shall not be deemed to have been given to Lender until actually
received by Lender. It` any-notice required by this Secnrity lostniment is also required under Applicahle
Law, the Applicable Law requirement will satisfy the corresponding requirement under this Secnrity
Instrument. -

16. Governing Law; Severablllty; Rules of Construetlon. This Security Instrument shall be
governed by federal law and the law of the jurisdiction in which the Property is located. All rights and
obligations contained in this Security Instrnment are subject to any requirements and limitations of
Applicable Law. Applicabl.e Law might explicitly or implicitly allow the parties to agree by contract or it
might be silent, 'but. such silence shall not be construed 'as a prohibition against agreement by contract la
the event that any provision or clause ot` this Secur'rty Instrurnent or the Note conflicts with Applicable
Law, such conflict shall not affect other provisions of this Security Instturnent or the Note which can be
given effect without the conflicting provision _

As used in this Sec.urity Instrurnent: (a) words of the mascnline gender shall mean and include
corresponding neuter words or words of the ferninine gender; [b) words in the singular shall mean and
include the plural and vice versa; and (c) the word “rnay" gives sole discretion without any obligation to
take any action. '

11 Borrowel"s Copy'. Borrower shall be given one copy of the `Note and of` this Security Insn'nment

18. Transfer of the Property or n Beneflctal Interest tn Borrower. As used in this Scction IB.
"Interest in the Property" means any legal or benencial interest in the Propcrty, including, but not limited
to, those beneficial interests transferred in a bond for deed, contract for deed., installment sales contract or
escrow agreement, the intent of which is the transfer of title by Borrower at a future date to a pnrchaser.

If all or any part of the l’ropcrty or any Interest in the Prop_ert}yr is sold or transferred (or if Borrower
is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior
written consent, Lender may require immediate payment in hill ot` all sums secured by this Security
Instrument. I-Iowever, this option shall not be exercised by.Lender it` such exercise is prohibited by
Atpplicable Law. ,

If Lender exercises this option, Lender shall give Bosrrower notice of acceleration "l`he notice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
within which Bon‘ower must pay all sinus secured by this Secnrity Insu‘ument. Ii‘ Borrower fails to pay
these sums prior to the expiration of this period, Lender may invoke any remedies permitted by this
Securit'y lnstmrnent Without further notice or demand on Borrowcr.

19. Borrower's Right to Reinstate Atter Aceeleration. lf` Borrower meets certain oonditions,
Borrower shall have the right to have enforcement of this Seourity lnstrurnent discontinued at any time
prior to the earliest oi`: (a) five days before sale of the Propcr_ty pursuant to any power of sale contained in
this Security Insmtment; (b) such other period as Applicable Law might specify for the termination of
Borrower's tight to reinstate; or (c) entry of a judgment enforcing this Security instrument Those
conditions are that Borrower: (a) pays Lende_r all sums which then would be due under this Securit_v
Instrument and the Note as if no acceleration had occurred; (b) cures any default of any other covenants or
agreements; (c) pays all expenses incurred in enforcing this Sec’urity Instruinent, i.ncluding, but not limited
to, reasonable attome_ys' fees, property inspection and valuation fees, and other fees incurred for the

FLOR|DA~Singla FE.l'|‘lIly-Fal"ln'ltttMaa.\‘FreddlB lillian UNIFORM NSTRUMENT WlTH MERS

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Case 6:18-bk-06338-CC.] DOC 12-1 Filed 11/15/18 Page 17 of 25

purpose of protecting Lender's interest in the Property and rights under this Secur.ity insmiment; and (d)
takes such action as Lender may reasonably require to assure that Lendex‘s interest_in- the Property and
rights under this Secu`rity Instrument, and Bcrrower's obligation to pay the sums secitred by this Security
instrument, shall continue unchanged Lender may require that Borrower pay such reinstatement sums and
expenses in one or more of the following forms. as selected by Lender. (a) cash; (b) money order; (c)
certified check, bank check,_ treasurefs check or cashier's check, provided any such check is drawn upon
an institution whose deposits are insured by a federal agency, instrumentality or en.tity; or (d) Electronic
Funds Transt`er. Upon reinstatement by Borrower, this Seclrr`rty _lnstrnment and obligations secured hereby
shall remain fully effective as if no acceleration had occurred Howevor, this right to reinstate shall not
apply in the case of acceleration under Section 18.

20. Sale- of Note; Chnnge of Loan Servi`cer; Notice of Grievnnce. The Note or a partial interest in
the Note (together with this Security Instrument] can be sold one or more times without prior notice to
Horrower. A sale might result in a change in the entity (known as the "Loan Serviccr“) that collects
Pericdic Payments due under the Note and this Security Instmment and performs other mortgage loan
servicing obligations under the Note. this Security lnstrument, and Applicable Law. There also might be
one or more changes of the Loan Servic.er unrelated to a sale of the Note. lf` there is s change of the Loan
Servicer, Borrower will be given written notice of the change which will state the name and address of the
new Loan Servicer, the address to which payments should be made and any other information RESPA
requires in connection with a notice of transfer of servicing lfthe Note is sold and thereafter the Loan is
serviced by a Loan Servicer.other than the purchaser of the Note, the mortgage loan servicing obligations
to Bon'ower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not
assumed by thc Note purchaser unless otherwise provided by thc Note purchaser.

Neither Borrower nor -Lender may commence, join, or be joined to any judicial action (as either an
individual litigant or the member of a class) that arises from the other pm'ty's actions pursuant to this
Security lostrument or that alleges that the other party has breached any provision of, or any duty owed by
reason ot`, this Secui'ity lnsnnment, until such Borrower or Lender has notified the other party (with such
notice given in compliance with the requirements of Section 15) of such alleged breach and afforded the
other party hereto a reasonable period after the giving of such notice to take corrective action. If
Applicable Law provides a time period which must elapse before certain action can be taken, that time
period will be deemed to be reasonable for purposes of this paragraph The notice of acceleration and

_ opportunity to cure given to Borrower pursuant to Section 22 and the notice-of acceleration given to

Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective
action provisions of this Section. 20. .

21. annrtlnns Su-bstanees. As used in this Section 21: (a) "Hazardous Substances" are those
substances defined as toxic or hazardous snbstanccs, pollutants, or wastes by Enviromncntal` Law and thc
following snbstances: gasoline, kerosene. other flammable or toxic petroleum products, toxic pesticides
and -herbicides, volatile solvents, materials containing asbestos or formaldehyde and radioactive materials;
(b) "Enviroomental law" means federal laws and laws of the jurisdiction where the Property is located that
relate to health,. safety or environmental protection; {c) "aniroctmental Cleanup" includes any response
action, remedial action, or removal action, `as defined in Environmental Law; and (d) an "Environmental
Condition“ means a condition that can cause, contribute to. 'or otherwise nigger an Environrnental
Cleanup.

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Case 6:18-bk-06338-CC.] DOC 1'2-1 Filed 11/15/18 Page 18 of 25

Borrower she ll not cause cr permit the presence. use, disposal, storage, or release of any Hazardous
Substances, or threaten to release any I-lazardous Substances, on or in the Property. Borrower shall not do,
nor allow anyone else to do, anything affecting the Property (a) that- is in violation of any Environrnental
Law, Cb) which creates an Environmental Condition, or (c) Which, due to the presence use, or release of a
Haaardous Substance, creates a condition that adversely affects the value of the Property. The preceding
two sentences shall not apply to the presence, use, or storage on the Property of small quantities of
Hazardous Substances that are generally recognized to be appropriate to normal residential uses and to
maintenance ot` the Propct'ty'(i-ncluding, but not limited to, hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any ir:tvestigatit:»n1 claim, demand, lawsuit
or other action by any governmental or regulatory agency or private party involving the Property and an],r
Hazardous Substance or Environtnental Law of Which Borrower has actual knowledge (b) any
Environmental Condition, including but not limited to, any spilling, leaking, discharge release or threat of
release of any Hazardous Substsnce, and (c) any condition caused by the presence. use or release of a
Hazardous Sobstancc which adversely affects the value of the Property‘ lt` Borrower learns. or is notified
by any governmental or regulatory authority. or any private party, that any removal or other remediation
of any Hazardous Substance affecting the Property is necessary1 Borrower shall promptly take all necessary
remedial actions in accordance with Environmental Law. Nothing herein shall create any obligation on
lender for an Environ.mental Cleanup.

NON-UNIFORM`. UOVENANTS. Borrower and L.ender further covenant and agree as follows:

22. Acceleration; Rerneclies. Lender shall give notice to Borrower prior to acceleration following
Borrower's breach of any covenant or agreement in .tl\is Security Tnstrument (hut not prior to
acceleration under Scction 18 unless Applicsble Law provides otherwise). The notice shall specify:
[a) the default; (b) the action required to cure the default; (c) a date, not less than 30 days from the
date the notice ls given to Borrowet', by which the default must 'l)e cured; end (d) that failure to cure
the default on or before the date specified in the notice may result in acceleration of the sums secured
by this Secnrity Iustrument, foreclosure by judicial proceeding and sale of the Propcrty. The notice
shall further inform Borrower of the right to reinstate after acceleration and the right to assert in the
foreclosure proceeding the non-existence of o default or any other defense of Borrower to acceleration
_ and foreclosure ll' the default ls not cured on or before the date specified in the notiee, Lender at its
option may require immediate payment in full of all sums secured by this S`ecurity Instrument
without further demand and may foreclose this Secnrity Instrument by judicial proceeding lender
shall loe-entitled to collect all expenses incurred in pursuing the remedies provided in this Section 22,
including, but not limited to, reasonable attorneys' i'ces and costs cf title evidence '

23. Rclease. U`pon payment of all sums secured by this Securit'y lnsh'urncnt, Lender shall release this
Scct_.lrity Instrumcnt. Borrower shell pay any recordation costs Lendcr may charge Bon~o\ver a fcc for
releasing this Secoritj,r Instrument, but only if the t`ee is paid to a third party for services rendered and the
charging of the fee is permitted under Applicable Law.

24. Attorneys' Fees. As used in this Security lnst:rument and the Note, attorneyst fees shall include
those awarded by an appellate court and any attorneys' fees incurred in a bankruptcy proceeding

25. Jr.n-y Trial Waivcr. The Borrower hereby wantes any right to a trial by jury in any action,
proceeding claim, or counterclaim whether in contract or tort, at law or in equity, arising out of or in any
way related to this Security Instmment or the Not`e.

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BY SIGN]'NG BELOW, Ber-:)wer accepts and agrees to the terms and covenants contained in this
Secnri'cy Instrument and 111-any Ricler executed by Borrower and recorded With it.
Signcd, sealed and delivered in the presence of:

Camor~cw f')\rm’\`t_ _ MMWW?/1q-lzuls (Seal)

 

 

 

 

 

 

 

 

 

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Case 6:18-bk-06338-CC.] DOC 12-1 Filed 11/15/18 Page 20 of 25

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The foregoing instrument was acl§nowledgedbeforerne rhis DeC€mbEf` 19, 2016 by
ManueT Memze and Ru'bh Memze. husband and wife .

 

 

    

 

 
     
 

who is personally known to mc or who has produced ['»`]_ _ Dyi ne r b‘c_@¢q$g as identification
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Case 6:18-bk-.06338-CC.] DOC 12-1 Filed 11/15/18 Page 21 of 25

Fil‘e Nmnb¢r;

EXH`[BIT A
I_.EGAL DESCRIPTION

Lot 13, Block “L", BOWE GARDENS SECTION "B", accordingto the Plat thereof, recorded in Plat Book 12, page 34, of the

Public Reoords of Brevard Connty, Florid a=.

Exl'o`bitA (Leml Descriptim]

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Case 6:18-bk-06338-CC.] DOC 12-1 Filed 11/15/18 Page 22 of 25

Recording Requested ByiFleturn To:

Fina| Does Team
1050 Woodward Ave_
Detroit, N|l 48226

This instrument Prepared By:
Akshdeep Dhaliwal

Quicken |_oans |nc.

1050 Woodward A\re.

De|roit, Ml 43226

Te|. No.: (300} 226-6308 ext. 34?80

Assignment of Mortgage

FOR VA].UF, RF.CEIVED, Moi'r.ga;_'e l:`.|eetronic Re§:isrt'ntion SYstetns, litc. ("MERS”} ns nominee for
QU|CKEN LOANS lNC. whose address is P.O, Bo>< 2026, Flint, MI 48501~2026
its successorsl and nssigns, does hereby granl_
ansign, transfer and eonvcy, unto Quir:ken maris |rtc,

, a corporation
organized and existing under the laws ol' The Stale Of Michigan (`herein "Assignee"}, whose
address is 1050 Woodward Ave_ Detroii. N|| 48226

, its successors
and ;tssign.s, all its rig|tt, title and interest in and in a certain Mortgage dated De€€mb€l‘ \9, 2016
inside and executed by
MANUEL Ml-`,NlZE AN[) RU"I`l-i MENI?.l-`., |-|USHA_\I[) AN[) W|F}-I

whose address is 1949 l\,#lckinle§.r Ave, Me|bourne, FL 32935

to and in favor of Mortgage I:`.lectronic Registration Systems, Inc ("MERS") a_s a nominee for QUICKEN LOANS

lNC. irs successors and assigns upon the
following described property situated in BREVARD Couniy. State
uf Florida ;

SEE EXHlB|T "A" A"|_l'ACHED HERETO AND MADE A
F'ART HEREOF SUBJECT TO COVENANTS OF RECORD.

Ta)< Paree| #; 2?22914

Morlgagc Roeorded On: 12!22)'20 l 6 Boo|v'Liber#: ??83
Dccurnent Number: Page#: 942
MlN: MF.RS Phonc: 1-888-679-63?'?

 

MEHS Assiglimmu ul Mortgago
vMF '\1- VMPSGM {1 1041.00

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Case 6:18-bk-06338-CC.] DOC 12-1 Filed 11/15/18 Page 23 of 25

such Mot'lgnge having been given to secure payment of
One Hundred Fifiy Two Tl~tonsand E‘.`tg|'tt Hundred Eighiy Four Dollars and 001l 100
($ 152,88»1.00

) [Inelttdc the Ol'lgi nol Principnl Antcttlnt) which Moi'tgnge is of record
in Bouk, Vo|urne_ or Libcr No. i?83

, at page 942 (or us No.
2016251558 }ofthe Reeords of
BREVARD County_ State o|`
Florida

and all rights deemed or to accrue under such Mortgage_
TO HAVE AND ‘l`O HOLD_ the same unto Assignee, its successors and nss'tgns, lol'ever, subjeel onlyl to
tt&\tcrr'ns and conditions of the abovc»described Mnngag,e.

`\-[N WlT 1SS WHEREOF, the undersigned Assignor luis executed this Assignmcnt of Mottgago on

   
 

 
 
  

Morlg:tg¢: Electrunic Registr' lion S)'stcms, lrlc.
("MI€RS")as nominee for
QUICKEN LOANS [NC , its sue s rs and assigns

 

\""`F' .
Witness Pan¥la A lfClt"Cl

witness Chr'tstina A |trnan "

Nat'no; Joannn Bmler
sum ' ` ' " Titte; nssismntsecrenry urMERs

 

MEH‘S A.ssmnmtal\\ of Morig:\qe
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Case 6:18-bi<-06338-CC.] DOC 12-1 Filed 11/15/18 Page 24 of 25

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Stete of Niichigan

County of Wayne
On |OFZBIEOIS _ before meShamatn A_ Phillips a Notary Pub|ic of Nlie.higan , personalty appeared
ioanna Ernler , Assistant Secretary of Mortgage Etectronic Registration Systems, |nc..

personally known to me for proved to me on the basis ct satisfactory evidence) to be the person{s)
whose name(s) is!a re subscribed to within instrument and acknowledged to me that heisheithey
executed the same in histheritheir authorized eapacity(ies), and that by his)'her!their signature(s)
on the instrumentl the person(s}, ortho entity upon behalf ot which the person(s) acted. executed
the instrument

W|TNESS my hand and official seal

 

 

 

 

 

 

 

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C UN WAYN . ' '
My summ.|mn E i 3 ber15|2024 Name_ Shamnra A. Phlllips
Aoting in the t‘.lclt.intytr of Wayge `l"ltle: Notary F'u`olic
Mens nsngmnern ul Mon@ge vt\.\Pnsm tt invitee

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Case 6:18-bi<-06338-CC.] DOC 12-1 Filed 11/15/18 Page 25 of 25

EXHI'BI"[` A
LE GAL DESCRI I’TION

Fi]'e N=meer:

Lot 13, Block "L", BOWE GAR.DENS SEC“T.'ION "B", according to thc P]at thereof rccm'dcd in Piat Book 12, page 34, ci"the
Pubijc R_eccrds cf Breva.rd Couuty, Florid a.

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-WM Q¢"n

 

 

 

